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       July 23, 2021



       By ECF
       Hon. Annalisa Torres
       United States District Judge
       Southern District of New York
       500 Pearl Street
       New York, NY 10007

                 Re: SEC v. Ripple Labs Inc. et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.)

       Dear Judge Torres,

                       We write on behalf of Defendants Christian A. Larsen and Bradley
       Garlinghouse (together, the “Individual Defendants”) to briefly respond to the SEC’s letter
       filed on July 21, 2021 (ECF No. 267). The SEC concedes that this Court may take judicial
       notice of a recent statement by two of its own Commissioners acknowledging the
       uncertainty concerning the application of the securities laws to digital assets. But it goes
       on to publicly rebuke these two Commissioners’ considered views that merely
       acknowledge what is plain and obvious to all: even today, “[t]here is a decided lack of
       clarity for market participants around the application of the securities laws to digital assets
       and their trading.” (ECF No. 264-1 at 1.) The SEC then asserts that the Commissioners’
       statements are legally “irrelevant” to their claims of aiding-and-abetting against Mr. Larsen
       and Mr. Garlinghouse. This gratuitous attempt to re-argue its flawed position by way of
       an unauthorized sur-reply is meritless.

                      It is plain, as the Individual Defendants point out in their motions, that there
       was at the relevant time—and remains today—a “decided lack of clarity” regarding
       whether digital assets generally, and XRP in particular, are securities. (See ECF No. 107
       at 12–19; ECF No. 111 at 13–20.) The SEC’s aiding-and-abetting claim requires the SEC
       to prove that Mr. Larsen and Mr. Garlinghouse knew or were reckless in not concluding
       that XRP was a security as long as eight years ago. Yet even today two of the five
       Commissioners of the agency acknowledge that “questions and confusion persist[] in the
       marketplace,” thus negating any claim of historical recklessness against Mr. Larsen and
       Mr. Garlinghouse. The SEC’s extraordinary public airing of its internal debate only
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highlights why the Court must dismiss the SEC’s claim against the Individual Defendants
for aiding-and-abetting Ripple’s alleged violation of Section 5 of the Securities Act.

                 The SEC’s letter does serve to focus the inquiry before the Court. There
can be no debate about whether the regulatory status of digital assets in general—and XRP
in particular—was so clear that the Individual Defendants can remain accused of being
reckless in not recognizing it as such. That issue was not, and is not, anything close to
clear. The SEC does not contest this point. Instead, it responds that it “is not required to
prove that the Individual Defendants knew or recklessly disregarded the legal
consequences of their actions.” (ECF No. 267 at 3 (emphasis in original).) That would
allow the SEC to rest an aiding-and-abetting claim solely on the “knowledge of the
circumstances that constitute the primary violation” (ECF No. 182 at 25), i.e., the
Individual Defendants’ knowledge that Ripple sold a digital asset that had not been
registered as a security, without plausibly alleging the necessary element that the Individual
Defendants knew or recklessly disregarded that these sales were improper. But as the
Individual Defendants’ motions make clear, under the correct legal standard—which the
SEC itself has advocated for in court and applied in administrative proceedings—the SEC
must demonstrate that “the Individual Defendants knew or recklessly disregarded that
Ripple’s offerings and sales of XRP required registration as securities and that those
transactions were improper.” (Opinion & Order, ECF No. 103, at 3 (Apr. 9, 2021)
(emphasis added) (granting motion to quash); see also ECF No. 107 at 12–19; ECF No.
111 at 13–20.) The SEC has alleged nothing improper about selling XRP other than its
claim that those sales required registration with the SEC as a security. But that, in turn,
requires the SEC to show that the Individual Defendants knew or were reckless as to XRP’s
alleged classification as a security. Given the regulatory uncertainty that Commissioners
of the SEC now publicly acknowledge persists even today, the SEC’s aiding-and-abetting
claim must fail.

                The SEC also draws false analogies to prior decisions that offer no support
for its aiding-and-abetting claims. Citing the Kik, Telegram, and NAC Foundation cases,
the SEC argues that the claims against Mr. Larsen and Mr. Garlinghouse should be decided
“on the basis of Howey and the cases applying it, just like every other case in the digital
asset space has been decided.” (ECF No. 267 at 3 (citing SEC v. Kik Interactive Inc., 492
F. Supp. 3d 169, 183–84 (S.D.N.Y. 2020); SEC v. Telegram Group Inc., 448 F. Supp. 3d
352, 365–79 (S.D.N.Y. 2020); SEC v. NAC Foundation, LLC, No. 20-CV-4188-RS, 2021
WL 76736, at *4 n.5 (N.D. Cal. Jan. 8, 2021)).) But the Kik and Telegram cases did not
involve any claims against individual defendants. And the NAC Foundation case did not
involve claims of aiding-and-abetting under Section 15 of the Securities Act; instead, the
individual defendant in that case, unlike Mr. Larsen and Mr. Garlinghouse, stood accused
of perpetrating a fraud. These decisions in no way support the SEC’s aiding-and-abetting
claim against Mr. Larsen and Mr. Garlinghouse. And there are, of course, numerous other
distinctions between those cases and this one.
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               The SEC’s arguments concerning Commissioners Roisman and Peirce’s
statement only highlight that the SEC’s position is legally untenable. As a matter of law,
Mr. Larsen and Mr. Garlinghouse cannot have been reckless in connection with the
disputed issue of whether XRP is and was a currency or a security. See Safeco Ins. Co. of
Am. v. Burr, 551 U.S. 47, 70 n.20 (2007). Thus, the aiding-and-abetting claims against
Mr. Larsen and Mr. Garlinghouse should be dismissed.

                                     Respectfully Submitted,

                                     /s/ Martin Flumenbaum
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